  Case 1:20-cv-00456-CFC Document 9 Filed 08/12/20 Page 1 of 2 PageID #: 87




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  THOMAS PILEGGI, derivatively on behalf of
  GREENSKY, INC.,
                                                      C.A. No.: 20-cv-456-CFC
         Plaintiff,

         vs.

  DAVID ZALIK, ROBERT PARTLOW,
  GERALD BENJAMIN, JOEL BABBIT, JOHN                  DEMAND FOR JURY TRIAL
  FLYNN, GREGG FREISHTAT, NIGEL
  MORRIS, and ROBERT SHEFT,

         Defendants,

         and

  GreenSky, Inc.,

         Nominal Defendant.


NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Thomas Pileggi hereby voluntarily dismisses the above-captioned action

without prejudice. Defendants have not served an answer or a motion for summary judgment.

       Notice of this voluntary dismissal is not required under Fed. R. Civ. P. 23.1(c) because the

dismissal is without prejudice and neither Plaintiff nor Plaintiff’s counsel have received or will

receive any compensation for this dismissal.
 Case 1:20-cv-00456-CFC Document 9 Filed 08/12/20 Page 2 of 2 PageID #: 88




Dated: August 12, 2020                Respectfully submitted,

Of Counsel:                           FARNAN LLP

THE ROSEN LAW FIRM, P.A.              /s/ Michael J. Farnan
Phillip Kim                           Brian E. Farnan (Bar No. 4089)
275 Madison Avenue, 34th Floor        Michael J. Farnan (Bar No. 5165)
New York, NY 10016                    919 N. Market St., 12th Floor
Telephone: (212) 686-1060             Wilmington, DE 19801
Facsimile: (212) 202-3827             Telephone: (302) 777-0300
Email: pkim@rosenlegal.com            Facsimile: (302) 777-0301
                                      Email: bfarnan@farnanlaw.com
THE BROWN LAW FIRM, P.C.              Email: mfarnan@farnanlaw.com
Timothy Brown
240 Townsend Square
Oyster Bay, NY 11771
Telephone: (516) 922-5427
Facsimile: (516) 344-6204
Email: tbrown@thebrownlawfirm.net
                                      Attorneys for Plaintiff
